Case: 1:17-md-02804-DAP Doc #: 4537-1 Filed: 06/16/22 1 of 2. PageID #: 587259




                     EXHIBIT 1
            Case: 1:17-md-02804-DAP Doc #: 4537-1 Filed: 06/16/22 2 of 2. PageID #: 587260
          Excerpted Fields from Plaintiffs’ Expert’s Processed Data for Schley County, GA*
BUYER_ BUYER_ NDC_NO                     DRUG_NAME           DOSAGE_UNIT Product_Name                 MME_Conversion_
STATE  COUNTY                                                                                         Factor
GA     SCHLEY 67767012118                FENTANYL                    10          FENTANYL TRANSDERMAL        100
                                                                                 SYSTEM PATCHES

GA        SCHLEY 50458003705             FENTANYL                    10          DURAGESIC 1.25MG              100
                                                                                 FENTANYL AND .O5ML
GA        SCHLEY 378912198               FENTANYL                    10          FENTANYL 72HR                 100
                                                                                 25MCG/HR TDS (2.55MG T
GA        SCHLEY 49884076378             FENTANYL                    10          FENTANYL 72HR                 100
                                                                                 75MCG/HR TDS (7.5MG TO
GA        SCHLEY 781711255               FENTANYL                    10          FENTANYL TRANSDERMAL          100
                                                                                 SYSTEM 5MG POUC

GA        SCHLEY 406907576               FENTANYL                    10          FENTANYL 72HR                 100
                                                                                 75MCG/HR TDS (8.25MG T
GA        SCHLEY 245042205               FENTANYL                    10          FENTANYL 7.65MG TDS           100
                                                                                 PATCH




 * See Opioid Data, slcg Economic Consulting, http://www.slcg.com/opioid-data/ (last visited June 11, 2022).
